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FoR THE wEsTERN DIsTRIc'r oF TENNEssEE “
wEsTERN DIvIsIoN '

 

AMERICAN COPPER & BRASS, INC. and

THE BANKRUPT ESTATE OF SMITH AND
WOFFORD PLUMBING AND INDUSTRIAL
SUPPLV, INC., on behalf of themselves and all
others similarly situated,

 

Plaintiffs,

v. No. 04-2771-DIv
JuDGE BERNIcE B.

DoNALo

BoLIDEN AB, et al.,

Defendants.

 

ORDER GRANTING DEFENDANT HALCOR S.A.'S UNOPPOSED
MOTION FOR AN ADDITIONAL ENLARGEMENT OF TIME IN
WHICH TO FILE A RESPONSIVE PLEADING TO PLAINTIFFS'
COMPLAINT

 

It appearing to the Court that the Motion of Defendant, Ha|cor
S.A., for An Additiona| En|argement of Time in Which to Answer, Move
or Otherwise Respond to P|aintiffs' Comp|aint is well taken and should
be granted;

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED
that the Defendant, Ha|cor S.A., is granted an additional enlargement
of time through and including May 21, 2005, to answer, move or

otherwise respond to the P|aintiffs' Comp|aint.

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Case 2:04-cv-02771-BBD-dkv Document 79 Filed 05/13/05 Page 2 of 5 Page|D 107

Entered this /BM day of ‘/)}/¢'/Z, ,2005.

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This notice confirms a copy of the document docketed as number 79 in
case 2:04-CV-02771 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

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